                 Case 1-18-43723-nhl              Doc 3       Filed 06/27/18         Entered 06/27/18 14:02:08

                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF NEW YORK
                                                www.nyeb.uscourts.gov

                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)



          Foodoni 23 NY Corp.
DEBTOR(S):________________________________________________           1-18-43723
                                                           CASE NO.: __________________

         Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner’s best knowledge, information and belief:
[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners;
or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is
included in the property of another estate under 11 U.S.C. § 541(a).]


G NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

G THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

             18-11852
1. CASE NO.: _________________        James L Garrity, Jr.
                               JUDGE: __________________________                    SBNY
                                                                 DISTRICT/DIVISION: ___________________

                              Yes
CASE STILL PENDING: (YES/NO): _______ [If closed] Date of closing: ______________________

                                Awaiting Meeting of Creditors
CURRENT STATUS OF RELATED CASE: ___________________________________________________________________
                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

                                                         Debtor in 18-11852 is Sole Owner of this Debtor
MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _____________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: _____________________________________________________________________
_________________________________________________________________________________________________________


2. CASE NO.: _________________ JUDGE: _________________________ DISTRICT/DIVISION: ____________________

CASE STILL PENDING: (YES/NO): _______ [If closed] Date of closing: ______________________

CURRENT STATUS OF RELATED CASE: ___________________________________________________________________
                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): _____________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: _____________________________________________________________________
_________________________________________________________________________________________________________
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                                                                                 [OVER]

DISCLOSURE OF RELATED CASES (cont’d)


3. CASE NO.: _________________ JUDGE: ________________________ DISTRICT/DIVISION: ____________________

CASE STILL PENDING: (YES/NO): _______                                   [If closed] Date of closing: ______________________

CURRENT STATUS OF RELATED CASE: ___________________________________________________________________
                                 (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):______________________________________________

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (‘REAL PROPERTY’) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASES: ____________________________________________________________________
_________________________________________________________________________________________________________



NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

                                                                     Y
I am admitted to practice in the Eastern District of New York (Y/N): _______

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.


_______________________________________                                                          __________________________________________
Signature of Debtor’s Attorney                                                                   Signature of Pro-se Debtor/Petitioner

                                                                                                  __________________________________________
                                                                                                  Mailing Address of Debtor/Petitioner

                                                                                                  __________________________________________
                                                                                                  City, State, Zip Code

                                                                                                  __________________________________________
                                                                                                  Email Address

                                                                                                  __________________________________________
                                                                                                  Area Code and Telephone Number


Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.
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